       Case 5:13-cv-01920-EJD Document 317 Filed 12/20/18 Page 1 of 4




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17
                                        UNITED STATES DISTRICT COURT
18
                                   NORTHERN DISTRICT OF CALIFORNIA
19
                                             SAN JOSE DIVISION
20
      IN RE INTUITIVE SURGICAL                              Case No. 5:13-cv-01920 EJD (HRL)
21    SECURITIES LITIGATION
                                                            CLASS ACTION
22
                                                            [PROPOSED] ORDER AWARDING
23                                                          ATTORNEYS’ FEES, PAYMENT OF
                                                            EXPENSES, AND PAYMENT OF
24                                                          CLASS REPRESENTATIVES’
                                                            EXPENSES
25
              On December 20, 2018, a hearing having been held before this Court to determine,
26
     among other things, whether and in what amount to award (1) Class Counsel in the above-
27
     captioned consolidated securities class action (the “Action”) fees and litigation expenses directly
28
     [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES AND PAYMENT OF EXPENSES
     CASE NO. 5:13-CV-01920 EJD (HRL)
       Case 5:13-cv-01920-EJD Document 317 Filed 12/20/18 Page 2 of 4




 1   relating to their representation of the Class; and (2) Class Representatives their costs and

 2   expenses (including lost wages), pursuant to the Private Securities Litigation Reform Act of 1995

 3   (the “PSLRA”). The Court having considered all matters submitted to it at the hearing and

 4   otherwise; and it appearing that a notice of the hearing substantially in the form approved by the

 5   Court (the “Settlement Notice”) was mailed to all reasonably identified Class Members; and that

 6   a summary notice of the hearing (the “Summary Notice”), substantially in the form approved by

 7   the Court, was published in Investor’s Business Daily and transmitted over PR Newswire; and

 8   the Court having considered and determined the fairness and reasonableness of the award of

 9   attorneys’ fees and expenses requested;

10            NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

11            1.       The Court has jurisdiction over the subject matter of this Action and over all

12   parties to the Action, including all Class Members who have not timely and validly requested

13   exclusion, Plaintiffs’ counsel, and the Claims Administrator.

14            2.       All capitalized terms used herein have the meanings set forth and defined in the

15   Stipulation and Agreement of Settlement, dated as of September 11, 2018 (the “Stipulation”).

16            3.       Notice of Class Counsel’s application for attorneys’ fees and payment of litigation

17   expenses was given to all Class Members who could be identified with reasonable effort. The

18   form and method of notifying the Class of the application for attorneys’ fees and expenses met

19   the requirements of Rules 23 and 54 of the Federal Rules of Civil Procedure, Section 21D(a)(7)

20   of the Securities Exchange Act of 1934, 15 U.S.C. § 78u-4(a)(7), as amended by the PSLRA, due

21   process, and other applicable law, constituted the best notice practicable under the

22   circumstances, and constituted due and sufficient notice to all persons and entities entitled

23   thereto.

24            4.       Class Counsel are hereby awarded, on behalf of all Plaintiffs’ counsel, attorneys’

25   fees in the amount of $8,075,000 plus interest at the same rate earned by the Settlement Fund

26   (which is 19% of the Settlement Fund), and payment of litigation expenses in the amount of

27   $1,988,789.66, which sums the Court finds to be fair and reasonable.

28                                                  2
     [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES AND EXPENSES
     CASE NO. 5:13-CV-01920 EJD (HRL)
       Case 5:13-cv-01920-EJD Document 317 Filed 12/20/18 Page 3 of 4




 1             5.      The award of attorneys’ fees and litigation expenses may be paid to Class Counsel

 2   from the Settlement Fund immediately upon entry of this Order, subject to the terms, conditions,

 3   and obligations of the Stipulation, which terms, conditions, and obligations are incorporated

 4   herein.

 5             6.      In making this award of attorneys’ fees and payment of litigation expenses to be

 6   paid from the Settlement Fund, the Court has analyzed the factors considered within the Ninth

 7   Circuit and found that:

 8                      (a)      The Settlement has created a common fund of $42.5 million in cash and

 9    that numerous Class Members who submit acceptable Claim Forms will benefit from the

10    Settlement created by the efforts of counsel;

11                      (b)      The requested attorneys’ fees and payment of litigation expenses have

12    been reviewed and approved as fair and reasonable by Class Representatives, sophisticated

13    institutional investors that were directly involved in the prosecution and resolution of the Action

14    and who have a substantial interest in ensuring that any fees paid to counsel are duly earned and

15    not excessive;

16                      (c)      Class Counsel undertook the Action on a contingent basis, and have

17    received no compensation during the Action, and any fee and expense award has been

18    contingent on the result achieved;

19                      (d)      The Action involves complex factual and legal issues and, in the absence

20    of settlement, would involve lengthy proceedings whose resolution would be uncertain;

21                      (e)      Class Counsel conducted the Action and achieved the Settlement with

22    skillful and diligent advocacy;

23                      (f)      Plaintiffs’ counsel have devoted approximately 41,813.90 hours, with a

24    lodestar value of $21,548,609.00 to achieve the Settlement;

25                      (g)      The amount of attorneys’ fees awarded are fair and reasonable and are

26    less than fee awards approved in cases within the Ninth Circuit with similar recoveries;

27

28                                                   3
     [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES AND EXPENSES
     CASE NO. 5:13-CV-01920 EJD (HRL)
       Case 5:13-cv-01920-EJD Document 317 Filed 12/20/18 Page 4 of 4




 1                      (h)      Notice was disseminated to putative Class Members stating that Class

 2    Counsel would be submitting an application for attorneys’ fees in an amount not to exceed 19%

 3    of the Settlement Fund, which includes interest, and payment of litigation expenses incurred in

 4    connection with the prosecution of this Action up to $2,500,000 plus interest, and that such

 5    application also might include a request that Class Representatives be reimbursed their

 6    reasonable costs and expenses (including lost wages) directly related to their representation of

 7    the Class; and

 8                      (i)      There were no objections to the application for attorneys’ fees or

 9    expenses.

10            7.       In accordance with the PSLRA, the Court hereby awards Class Representative

11   Employees’ Retirement System of the State of Hawaii $49,754.18 for its costs and expenses

12   directly related to its representation of the Class, and Class Representative Greater Pennsylvania

13   Carpenters’ Pension Fund $9,100.00 for its costs and expenses directly related to its

14   representation of the Class.

15            8.       Any appeal or challenge affecting this Court’s approval of any attorneys’ fee,

16   expense application, or award of costs and expenses to Class Representatives in the Action, shall

17   in no way disturb or affect the finality of the Judgment entered with respect to the Settlement.

18            9.       Exclusive jurisdiction is retained over the subject matter of this Action and over

19   all parties to the Action, including the administration of the Settlement.

20            10.      In the event that the Settlement is terminated or does not become Final or the

21   Effective Date does not occur in accordance with the terms of the Stipulation, this order shall be

22   rendered null and void to the extent provided by the Stipulation and shall be vacated in

23   accordance with the Stipulation.

24

25           December 20
     Dated: _________________, 2018             ____________________________________
                                                HONORABLE EDWARD J. DAVILA
26
                                                UNITED STATES DISTRICT JUDGE
27

28                                                    4
     [PROPOSED] ORDER AWARDING ATTORNEYS’ FEES AND EXPENSES
     CASE NO. 5:13-CV-01920 EJD (HRL)
